 Case 19-30568     Doc 21     Filed 09/12/19 Entered 09/12/19 11:20:12   Desc Main
                                Document     Page 1 of 2


                     UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS
                             WESTERN DIVISION

In re:
      Richard Earl Houghton                            Chapter 7
      Janet E. Houghton
                               Debtors                 Case No. 19-30568-EDK


  TRUSTEE’S MOTION TO WITHDRAW OBJECTION TO MOTION OF FREEDOM
    MORTGAGE CORPORATION FOR RELIEF FROM THE AUTOMATIC STAY
To the Honorable Elizabeth D. Katz, U.S. Bankruptcy Judge:

Now come David W. Ostrander, Chapter 7 Trustee in the above captioned case
(“Trustee”), by his counsel, and moves to withdraw his objection to the Motion Of
Freedom Mortgage Corporation For Relief From The Automatic Stay (“Motion”).

The Trustee further requests that the hearing on the Motion, presently scheduled
for Wednesday, September 18, 2019, at 11:30 A.M. in Springfield be canceled.



                                   David W. Ostrander, Trustee
Dated: September 12, 2019
                                By: /s/ David W. Ostrander
                                   David W. Ostrander, Esq., BBO#554004
                                   Ostrander Law Office
                                   36 Service Center Road, P.O. Box 1237
                                   Northampton, MA 01061-1237
                                   T: (413) 585-9300 F: (413) 585-9490
                                   E: david@ostranderlaw.com
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                                Document     Page 2 of 2

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                              CERTIFICATE OF SERVICE

I, David W. Ostrander, do hereby certify that I served a copy of the Trustee's Motion To
Withdraw Objection To Motion Of Freedom Mortgage Corporation For Relief From The
Automatic Stay on the following in the manner indicated, on September 12, 2019:
Office of the U.S. Trustee                   Cynthia Ravosa, Esq.
(via ECF)                                    Counsel to Debtors
                                             (via ECF)
Andrew Canella, Esq.
Bendett & McHugh, P.C.
Counsel To Freedom Mortgage Corp.
(via ECF)



/s/ David W. Ostrander
David W. Ostrander
Ostrander Law Office
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Northampton, MA 01061-1237
T: (413) 585-9300 F: (413) 585-9490
E: david@ostranderlaw.com
